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14                          UNITED STATES DISTRICT COURT
15                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                  No. CR 2:24-cr-00091-ODW
17
18             Plaintiff,                       DECLARATION OF LEO J. WISE IN
                                                SUPPORT OF GOVERNMENT’S
19                    v.                        FIRST MOTION IN LIMINE TO
                                                PRECLUDE PROPOSED DEFENSE
20   ALEXANDER SMIRNOV,                         EXPERT GREGORY SCOTT
                                                ROGERS
21
               Defendant.
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 1                             DECLARATION OF LEO J. WISE
 2   I, Leo J. Wise, declare as follows:
 3      1. I am an attorney of record for the United States in the above-captioned case. I have
 4         personal knowledge of the matters contained in this declaration, and, if called as a
 5         witness to testify, I would competently testify to them. This declaration is offered
 6         in support of the government’s First Motion in Limine to Preclude Proposed
 7         Defense Expert Gregory Scott Rogers.
 8      2. The defendant opposes the motion, suggesting that he intends to improperly call his
 9         proposed expert to testify.
10      3. On Friday, October 25, 2024, my office emailed a letter to counsel for the defendant
11         regarding the subject of the government’s proposed motions in limine, including the
12         matters, issues, and topics addressed in the First Motion in Limine. On Monday,
13         October 28, 2024, the defendant’s counsel emailed his response, opposing the
14         motion and therefore refusing to stipulate that he will not call his proposed expert
15         to testify in the presence of the jury unless and until the Court so rules.
16      4. The government will suffer prejudice if its First Motion in Limine is denied, and
17         the defendant is permitted to call his proposed expert because his expert disclosures
18         are deficient under Federal Rule of Criminal Procedure 16 and otherwise
19         inadmissible under Federal Rule of Evidence 702.
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21                             Executed on this 1st day of November, 2024 in Baltimore,
22                             MD.
23                             Respectfully submitted,
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25                             Leo J. Wise
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